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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

                v.                                         22 Cr. 276 (LTS)

GREGOIRE TOURNANT,

                                                           ORAL ARGUMENT REQUESTED
                       Defendant.



  DECLARATION OF SETH L. LEVINE IN SUPPORT OF DEFENDANT GREGOIRE
    TOURNANT’S MOTION TO DISMISS, OR, IN THE ALTERNATIVE, FOR A
                              HEARING

        Seth L. Levine, pursuant to 28 U.S.C. § 1746, states the following:

        1.      I am a partner of the law firm Levine Lee LLP, counsel for Gregoire Tournant in

this action.

        2.      I submit this declaration in support of Mr. Tournant’s Motion to Dismiss, or, in the

Alternative, for a Hearing.

        3.      Attached hereto as Exhibit A is a true and correct copy of a letter from Ann-

Elizabeth Ostrager (Sullivan & Cromwell LLP (“S&C”)) to Gregoire Tournant, dated Nov. 17,

2020.

        4.      Attached hereto as Exhibit B is a true and correct copy of a letter from Christopher

P. Conniff (Ropes & Gray LLP (“Ropes”)) to Gregoire Tournant, dated Nov. 18, 2020.

        5.      Attached hereto as Exhibit C is a true and correct copy of a presentation to the

Securities and Exchange Commission (“SEC”) by Ropes and S&C on behalf of Allianz, dated

May 5, 2021, Bates-stamped SDNY_01_52304 through SDNY_01_52381.
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       6.      Attached hereto as Exhibit D is a true and correct excerpt of a transcript of Stephen

Bond-Nelson’s SEC testimony, In the Matter of: Allianz Structured Return Strategy, File No. H0-

14055, dated May 20, 2021, Bates-stamped SDNY_01_51735.

       7.      Attached hereto as Exhibit E is a true and correct excerpt of a transcript of Stephen

Bond-Nelson’s SEC testimony, In the Matter of: Allianz Structured Return Strategy, File No. H0-

14055, dated May 21, 2021, Bates-stamped SDNY_01_51736.

       8.      Attached hereto as Exhibit F is a true and correct copy of notes taken by S&C of a

meeting between Mr. Tournant, S&C, Ropes, and Milbank LLP (“Milbank”), dated June 3, 2021.

       9.      Attached hereto as Exhibit G is a true and correct copy of notes taken by the United

States Attorney’s Office (“USAO”) of a presentation made by S&C on behalf of Allianz, dated

March 1, 2022, Bates-stamped SDNY_01_54785 through SDNY_01_54792.

       10.     Attached hereto as Exhibit H is a true and correct copy of a presentation to the

USAO by S&C on behalf of Allianz, dated Jan. 20, 2022, Bates-stamped SDNY_01_54516

through SDNY_01_54650.

       11.     Attached hereto as Exhibit I is a true and correct copy of an excerpt from the

Department of Justice Manual, titled Principles of Federal Prosecution of Business Organizations.

       12.     Attached hereto as Exhibit J is a true and correct copy of a speech by Director of

the SEC’s Division of Enforcement, Andrew Ceresney, titled Remarks at University of Texas

School of Law’s Government Enforcement Institute in Dallas, Texas.

       13.     Attached hereto as Exhibit K is a true and correct copy of a presentation to the

USAO by S&C on behalf of Allianz, dated Mar. 1, 2022, Bates-stamped SDNY_01_54671 through

SDNY_01_54784.




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       14.     Attached hereto as Exhibit L is a true and correct copy of a letter from Ann-

Elizabeth Ostrager (S&C) to Gregoire Tournant, dated June 7, 2021.

       15.     Attached hereto as Exhibit M is a true and correct copy of a letter from Christopher

P. Conniff (Ropes) to Gregoire Tournant, dated June 7, 2021.

       16.     Attached hereto as Exhibit N is a true and correct copy of notes taken by the USAO

of a call with S&C, dated July 13, 2021, Bates-stamped SDNY_01_55210 through

SDNY_01_55224.

       17.     Attached hereto as Exhibit O is a true and correct copy of notes taken by the USAO

of a call with S&C, dated July 13, 2021, Bates-stamped SDNY_01_55225 through

SDNY_01_55229.

       18.     Attached hereto as Exhibit P is a true and correct copy of notes taken by the USAO

of a Jan. 20, 2022 presentation made by S&C on behalf of Allianz, bates-stamped

SDNY_01_54496 through SDNY_01_54515.

       19.     Attached hereto as Exhibit Q is a true and correct copy of an SEC subpoena to

testify issued to Gregoire Tournant, In the Matter of: Allianz Structured Return Strategy, File No.

H0-14055, dated April 1, 2021.

       20.     Attached hereto as Exhibit R is a true and correct copy of a letter from Stephen

Ehrenberg (S&C) to Daniel R. Alonso (Buckley LLP (“Buckley”)), dated May 7, 2022.

       21.     Attached hereto as Exhibit S is a true and correct copy of a letter from Daniel R.

Alonso (Buckley) to the USAO, dated Mar. 9, 2022.

       22.     Attached hereto as Exhibit T is a true and correct excerpt of the Statement of Facts

from the plea agreement between the United States and Allianz Global Investors U.S. LLC.




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       23.     Attached hereto as Exhibit U is a true and correct copy of Deputy Attorney General

(“DAG”) Sally Quillian Yates’s memorandum re: Individual Accountability for Corporate

Wrongdoing.

       24.     Attached hereto as Exhibit V is a true and correct copy of a speech by DAG Rod

J. Rosenstein, titled Remarks at the American Conference Institute's 35th International Conference

on the Foreign Corrupt Practices Act.

       25.     Attached hereto as Exhibit W is a true and correct copy of DAG Lisa Monaco’s

memorandum re: Corporate Crime Advisory Group and Initial Revisions to Corporate Criminal

Enforcement.

       26.     Attached hereto as Exhibit X is a true and correct copy of an article published by

Practical Law Litigation, titled “Expert Q&A on DOJ’s Yates Memorandum.”

       27.     Attached hereto as Exhibit Y is a true and correct copy of an article published by

Bracewell, titled “DOJ: Companies Serve Up Your Executives!”

       28.     I declare under penalty of perjury that the foregoing is true and correct.

Dated: New York, New York
       December 23, 2022
                                                      By:    /s/ Seth L. Levine
                                                             Seth L. Levine




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